Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 1 of 45 Page ID
                                 #:6347


1    Melissa Grant (SBN 205633)
     Melissa.Grant@capstonelawyers.com
2    Robert Drexler (SBN 119119)
     Robert.Drexler@capstonelawyers.com
3    Molly DeSario (SBN 230763)
     Molly.DeSario@capstonelawyers.com
4    Jonathan Lee (SBN 267146)
     Jonathan.Lee@capstonelawyers.com
5    Capstone Law APC
     1875 Century Park East, Suite 1000
6    Los Angeles, California 90067
     Telephone: (310) 556-4811
7    Facsimile: (310) 943-0396
8    Attorneys for Plaintiffs Michael Kirby,
     Laura Kingston, Keosha Gates,
9    Martha Parra, Michelle Marie Dick,
     and Jeffrey Montes
10
                          UNITED STATES DISTRICT COURT
11
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13
     MICHAEL KIRBY, LAURA                       Case No.: 5:19-cv-00833-JLS-DFM
14   KINGSTON, KEOSHA GATES,
     MARTHA PARRA, MICHELLE                     Hon. Josephine L. Staton
15   MARIE DICK, JEFFREY MONTES,
     individually, and on behalf of other       DECLARATION OF MELISSA
16   members of the general public              GRANT IN SUPPORT OF MOTION
     similarly situated,                        FOR ORDER (1) INVALIDATING
17                                              PURPORTED SETTLEMENTS; (2)
                 Plaintiffs,                    PROHIBITING DEFENDANTS
18                                              FROM FURTHER EX PARTE
           vs.                                  COMMUNICATIONS WITH
19                                              PUTATIVE CLASS MEMBERS RE
     KINDRED HEALTHCARE                         CLAIMS; (3) ORDERING
20   OPERATING, LLC, a Delaware                 DEFENDANTS TO SEND A
     limited liability company; KND 52,         CORRECTIVE NOTICE; AND (4)
21   L.L.C., a Delaware limited liability       REQUIRING DEFENDANTS TO
     company; KND 55, L.L.C., a                 IDENTIFY THE CLASS MEMBERS
22   Delaware limited liability company;        WHO THEY HAVE CONTACTED
     THC - ORANGE COUNTY, LLC, a                RE: SETTLEMENT
23   California limited liability company;
     Bayberry Care Center, L.L.C., a            Date: April 24, 2020
24   Delaware limited liability company;        Time: 10:30 a.m.
     Foothill Nursing Company                   Place: Courtroom 10A
25   Partnership, a California general
     partnership; and DOES 1 through 10,
26   inclusive,
27               Defendants.
28

                             DECLARATION OF MELISSA GRANT IN SUPPORT OF
                   PLAINTIFFS’ MOTION RE: IMPROPER CLASS MEMBER COMMUNICATIONS
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 2 of 45 Page ID
                                 #:6348


1                       DECLARATION OF MELISSA GRANT
2          I, Melissa Grant, declare as follows:
3          1.     I am an attorney at law duly licensed to practice before all courts in
4    the State of California. I am a Partner with the law firm of Capstone Law APC
5    (“Capstone”). Capstone is counsel of record for Plaintiffs Michael Kirby, Laura
6    Kingston, Keosha Gates, Martha Parra, Michelle Marie Dick, and Jeffrey Montes
7    (“Plaintiffs”) and the proposed classes they seek to represent. Unless otherwise
8    indicated, I have personal knowledge of the following facts based on my personal
9    experiences, or on information with which I was provided and reviewed and, if
10   called as a witness, I could and would testify competently to such facts under oath.
11   I make this declaration in support of Plaintiffs’ Motion for Order (1) Invalidating
12   Purported Settlements; (2) Prohibiting Defendants from Further Ex Parte
13   Communications with Putative Class Members Re: Claims; (3) Ordering
14   Defendants to Send a Corrective Notice; and (4) Requiring Defendants to Identify
15   the Class Members who they Have Contacted Re: Settlement.
16         2.     On or about the end of April 2018, Plaintiff learned from several
17   class members that Defendants have sent class members (who are current and
18   former employees) a purported “Settlement Agreement and Release”
19   (“Agreement”), and once signed, settlement checks. True and correct copies of
20   these agreements and accompanying communications are attached hereto as
21   Exhibits A, B, C, D, and E.
22         3.     The misleading and confusing nature of these agreements has been
23   confirmed by the class members themselves, many of whom have told Plaintiff’s
24   counsel that they did not understand why they were receiving the checks or what
25   the case and settlement agreements were about, and that they felt pressured to
26   accept them. Since Defendants’ misleading communications began, several
27   putative class members have reached out to Plaintiff’s attorneys because they were
28   confused and did not understand why they were receiving these checks.
                                                Page 1
                             DECLARATION OF MELISSA GRANT IN SUPPORT OF
                   PLAINTIFFS’ MOTION RE: IMPROPER CLASS MEMBER COMMUNICATIONS
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 3 of 45 Page ID
                                 #:6349


1    Specifically, several class members have informed Plaintiff’s counsel that (1) they
2    felt pressured to accept the settlement because it came from their employer; (2)
3    they did not understand the claims being asserted in this case or what claims they
4    would be giving up if they accepted Defendants’ settlement offer; and (3) they did
5    not feel they had enough information to make an informed decision regarding the
6    value of the settlement, including that they could (and should) contact Plaintiff’s
7    counsel. The Declarations of Francisco Gomez, Barbara Lopez, Celena Ramirez,
8    and Jaidy Sanchez, who each received one of these proposed agreements, are
9    attached hereto as Exhibits G, H, I, and J, respectively.
10         4.     On May 12, 2017, Plaintiff filed this putative class action against
11   Defendants Kindred Healthcare, Inc. and KND 52, L.L.C., alleging 11 causes of
12   action, including unpaid overtime, unpaid minimum wages, failure to provide
13   meal periods, failure to provide rest periods, failure to provided compliant wage
14   statements, failure to pay all wages timely upon termination, failure to compensate
15   split-shifts, failing to pay for reporting time, unreimbursed business expenses, and
16   violation of California Business and Professions Code Sections 17200 et. seq.
17         5.     On or about the end of April 2018, Plaintiff Kirby learned from
18   several class members that Defendants had sent the Agreement and settlement
19   checks to Defendants’ current and former employees working at the Baldwin Park
20   location. Plaintiff Kirby filed a motion to invalidate those settlement agreements
21   and for dissemination of a curative notice on September 24, 2018. Judge David
22   Cohn of the Superior Court of California for the County of San Bernardino denied
23   the motion without prejudice on the grounds that it needed more information from
24   the class members themselves regarding the confusing and coercive nature of the
25   communications.
26         6.     As Plaintiff Kirby learned in discovery, Defendant KND
27   Development 52, L.L.C. only operated one hospital location in Baldwin Hills,
28   California. Pursuant to motion by Plaintiff Kirby, the superior court granted leave
                                                 Page 2
                              DECLARATION OF MELISSA GRANT IN SUPPORT OF
                    PLAINTIFFS’ MOTION RE: IMPROPER CLASS MEMBER COMMUNICATIONS
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 4 of 45 Page ID
                                 #:6350


1    to file a First Amended Complaint—which Plaintiff Kirby filed on April 5, 2019,
2    adding Plaintiffs Laura Kingston, Keosha Gates, and Martha Parra, and
3    Defendants, KND 55, L.L.C., THC-Orange County, L.L.C., Bayberry Care
4    Center, L.L.C and Kindred Healthcare Operating, LLC, the parent of the other
5    defendants and all other “Kindred Health” business entities and facilities in
6    California.
7          7.      Defendants removed the case to federal court on May 3, 2019 (Dkt.
8    No. 1.) On August 27, 2019, Plaintiffs sought leave to amend the FAC to add two
9    new plaintiffs and a new Kindred subsidiary, Foothill Nursing Company
10   Partnership as a defendant. This Court granted the motion on October 28, 2019.
11   (Dkt. No. 22.) The operative Second Amended Complaint alleges claims on behalf
12   of Plaintiffs against Defendants Kindred Healthcare Operating, LLC, KND 52,
13   L.L.C., KND 55, L.L.C., THC – Orange County, LLC, Bayberry Care Center,
14   L.L.C., and Foothill Nursing Company Partnership for the same causes of action.
15   (Dkt. No. 23.)
16         8.      On or about January 8, 2020, Plaintiffs’ attorneys learned that
17   Plaintiff Laura Kingston received a letter and proposed settlement agreement
18   relating to her employment with Defendants dated January 2, 2020. A true and
19   correct copy of this document packet is attached hereto as Exhibit F.
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                                                   Page 3
                                DECLARATION OF MELISSA GRANT IN SUPPORT OF
                      PLAINTIFFS’ MOTION RE: IMPROPER CLASS MEMBER COMMUNICATIONS
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 5 of 45 Page ID
                                 #:6351


1          9.     Once Plaintiffs’ attorneys learned of letter to Ms. Kingston, Plaintiffs
2    filed an ex parte relief requesting the relief sought by the present motion. The
3    Court denied the application without prejudice and invited Plaintiffs to file the
4    instant regularly-noticed motion. (Dkt. No. 42.)
5          I declare under penalty of perjury under the laws of the State of California
6    and the United States of America that the foregoing is true and correct and signed
7    on February 27, 2020, in Los Angeles, California.
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                                            ___________________________________
10                                          Melissa Grant
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                                                Page 4
                             DECLARATION OF MELISSA GRANT IN SUPPORT OF
                   PLAINTIFFS’ MOTION RE: IMPROPER CLASS MEMBER COMMUNICATIONS
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 6 of 45 Page ID
                                 #:6352




                      Exhibit A
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 7 of 45 Page ID
                                 #:6353
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 8 of 45 Page ID
                                 #:6354
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 9 of 45 Page ID
                                 #:6355
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 10 of 45 Page ID
                                  #:6356
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 11 of 45 Page ID
                                  #:6357




                       Exhibit B
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 12 of 45 Page ID
                                  #:6358
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 13 of 45 Page ID
                                  #:6359
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 14 of 45 Page ID
                                  #:6360




                       Exhibit C
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 15 of 45 Page ID
                                  #:6361
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 16 of 45 Page ID
                                  #:6362
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 17 of 45 Page ID
                                  #:6363
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 18 of 45 Page ID
                                  #:6364
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 19 of 45 Page ID
                                  #:6365




                       Exhibit D
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 20 of 45 Page ID
                                  #:6366
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 21 of 45 Page ID
                                  #:6367
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 22 of 45 Page ID
                                  #:6368
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 23 of 45 Page ID
                                  #:6369




                       Exhibit E
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 24 of 45 Page ID
                                  #:6370
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 25 of 45 Page ID
                                  #:6371
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 26 of 45 Page ID
                                  #:6372
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 27 of 45 Page ID
                                  #:6373




                        Exhibit F
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 28 of 45 Page ID
                                  #:6374
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 29 of 45 Page ID
                                  #:6375
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 30 of 45 Page ID
                                  #:6376
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 31 of 45 Page ID
                                  #:6377
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 32 of 45 Page ID
                                  #:6378
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 33 of 45 Page ID
                                  #:6379
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 34 of 45 Page ID
                                  #:6380




                       Exhibit G
DocuSign Envelope ID: 0AF110D7-8F64-4749-B9EA-7EC3A0347318
           Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 35 of 45 Page ID
                                             #:6381
DocuSign Envelope ID: 0AF110D7-8F64-4749-B9EA-7EC3A0347318
           Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 36 of 45 Page ID
                                             #:6382




                                                             9/18/2018
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 37 of 45 Page ID
                                  #:6383




                       Exhibit H
DocuSign Envelope ID: D99E9DF6-F7B9-4F07-BA4D-B9F4F5565992
           Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 38 of 45 Page ID
                                             #:6384



             1                                  DECLARATION OF BARBARA LOPEZ

             2             I, Barbara Lopez, declare:

             3             1.       I am over eighteen years old and, unless the context indicates otherwise, I have

             4     personal knowledge of the following facts. If called as a witness, I could and would testify

             5     competently to them. I make this declaration of my own free will.

             6             2.       I am a former employee of Kindred Healthcare (“Kindred”). I worked for

             7     Kindred in California from approximately 2008 to 2017.

             8             3.       During my employment at Kindred, I was employed as a Patient Clinic

             9     Coordinator, which is an hourly-paid, non-exempt position. I worked at the Kindred Hospital

            10     Rancho in Rancho Cucamonga, California.

            11             4.       On about January 2020, I received a settlement packet from Kindred containing

            12     an offer to settle all possible wage claims I had against Kindred for ($350).

            13             5.       The letter I received did not tell me how I could contact the lawyers

            14     representing Michael Kirby, or mention that I should try to contact them or any other attorney

            15     before signing.

            16             6.       The settlement packet did not tell me the status of the case, what impact the

            17     decision on class certification would have on my claims, or that I was receiving the settlement

            18     offer weeks before the request for class certification is to be heard.

            19             7.       I felt pressured to sign the settlement papers because they came from my

            20     former employer, Kindred, and Kindred specifically instructed me to sign them.

            21             8.       When I received the settlement papers I did not understand the claims being

            22     asserted in this case or what claims I would be giving up if I signed the settlement papers. It

            23     was written in legal jargon and I did not understand it. Kindred never provided me with a

            24     copy of the complaint or a description of the claims. Although Kindred told me I could view

            25     the complaint at a federal courthouse in Santa Ana, California, that is not close to my

            26     residence or work and it would be inconvenient and difficult for me to travel there to try to

            27     figure out where to request a copy of the complaint. Kindred also did not explain how the

            28     ($350) amount was calculated or how I could calculate the total potential value of my claims
                                                                    Page 1
                                                         DECLARATION OF BARBARA LOPEZ
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           Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 39 of 45 Page ID
                                             #:6385



             1     or tell me the disadvantages of signing the settlement agreement. I do not know what my

             2     claims could potentially be worth or what a good settlement offer on those claims would be.

             3               9.     I did not feel I had enough information to make an informed decision regarding

             4     the value of the settlement, nor did I understand what claims Kindred was trying to get me to

             5     settle.

             6               10.    I did not understand that the information in the settlement offer was prepared

             7     by Kindred and was not neutral. Although the settlement packet said I could call “Hope

             8     Jacobson” for more information, it did not say who she was or who she worked for, so I did

             9     not feel comfortable calling her.

            10               I declare under penalty of perjury under the laws of the State of California that the
                                                                1/22/2020
            11     foregoing is true and correct. Executed on ________ at Rancho Cucamonga, California.

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                                                                             Barbara Lopez
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                                                                    Page 2
                                                         DECLARATION OF BARBARA LOPEZ
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 40 of 45 Page ID
                                  #:6386




                        Exhibit I
DocuSign Envelope ID: 69FE1AD2-E529-4C92-9030-4DF54358D413
           Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 41 of 45 Page ID
                                             #:6387



             1                                 DECLARATION OF CELENA RAMIREZ

             2              I, Celena Ramirez, declare:

             3              1.      I am over eighteen years old and, unless the context indicates otherwise, I have

             4     personal knowledge of the following facts. If called as a witness, I could and would testify

             5     competently to them. I make this declaration of my own free will.

             6              2.      I am a former employee of Kindred Healthcare (“Kindred”). I worked for

             7     Kindred in California from approximately April 2013 to July 2016.

             8              3.      During my employment at Kindred, I was employed as a CNA, which is an

             9     hourly-paid, non-exempt position. I worked at Kindred Hospital Rancho in Rancho

            10     Cucamonga, California.

            11              4.      Around July 2019, I received a settlement packet from Kindred containing an

            12     offer to settle all possible wage claims I had against Kindred for ($350). After I declined to

            13     respond to the first settlement packet, I received a follow-up settlement packet from Kindred

            14     around December 2019.

            15              5.      The letters I received did not tell me how I could contact the lawyers

            16     representing Michael Kirby, or mention that I should try to contact them or any other attorney

            17     before signing.

            18              6.      The settlement papers did not tell me the status of the case, what impact the

            19     decision on class certification would have on my claims or that I was receiving the settlement

            20     offer weeks before the request for class certification is to be heard.

            21              7.      I felt pressure to sign the settlement papers because they came from my former

            22     employer, Kindred, and Kindred sent a second letter after I had ignored the first one.

            23              8.      When I received the settlement papers I did not understand the claims being

            24     asserted in this case or what claims I would be giving up if I signed the settlement papers. It

            25     was written in legal jargon and I did not fully understand it. Kindred never provided me with a

            26     copy of the complaint or a description of the claims. Although Kindred told me I could view

            27     the complaint at the U.S. Federal Courthouse in Santa Ana, California, that is not close to my

            28     residence or work and it would be inconvenient and difficult for me to travel there to try to
                                                                    Page 1
                                                         DECLARATION OF CELENA RAMIREZ
DocuSign Envelope ID: 69FE1AD2-E529-4C92-9030-4DF54358D413
           Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 42 of 45 Page ID
                                             #:6388



             1     figure out where to request a copy of the complaint. Kindred also did not explain how the

             2     ($350) amount was calculated or how I could calculate the total potential value of my claims

             3     or tell me the disadvantages of signing the settlement agreement. I have no idea what my

             4     claims could potentially be worth or what a good settlement offer on those claims would be.

             5              9.      I did not feel I had enough information to make an informed decision regarding

             6     the value of the settlement, which is part of why I ultimately declined to sign the settlement

             7     agreement.

             8              10.     I did not understand that the information in the settlement offer was prepared

             9     by Kindred and was not neutral. I did not understand that Kindred wrote the settlement offer

            10     in order to get me to settle my claims. Although the settlement packet said I could call Hope

            11     Jacobson for more information, it was not clear to me at all who she was or who she worked

            12     for so I did not feel comfortable calling her.

            13              I declare under penalty of perjury under the laws of the State of California that the
                                                                   1/24/2020
            14     foregoing is true and correct. Executed on ___________ at Bloomington,California.

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            16                                                       Celena Ramirez
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                                                                    Page 2
                                                         DECLARATION OF CELENA RAMIREZ
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 43 of 45 Page ID
                                  #:6389




                        Exhibit J
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 44 of 45 Page ID
                                  #:6390
Case 5:19-cv-00833-JLS-DFM Document 50-1 Filed 02/27/20 Page 45 of 45 Page ID
                                  #:6391
